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                                                                                             FILED
                     IJN[TED STATES DISTRICT COURT FOR TIlE                              NOV 29 2018
                      NORTBERN DISTRICT OF WEST VIRGIMA                                DISTRICT COURT-WVND
                                                                                    .

                                                                                     MARTINSBURG, WV 25401
  UNETED STATES OF AMERICA,


  v.                                                      Criminal No.         3:18-CR       (9

  WILLIAM LOREN HOFFMAN, ifi,                             Violations:          18   U.S.C.   § 922(d)
                                                                               18   U.S.C.   § 922(m)
                     Defendant.                                                18   U.S.C.   § 924(a)(2)
                                                                               18   U.S.C.   § 924(a)(3)(B)




                                        INDICTMENT

       The Grand Jury charges that:

                                         COUNT ONE

                                  (Sale to a Prohibited Person)

       On or about October 18, 2017 in Berkeley County, within the Northern District of West

Virginia, defendant WILLIAM LOREN HOFFMAN, III, knowingly sold a firearm, that is a

Hi-Point rifle, Model 4595, .45 ACP caliber, to a person known to the grand jury, knowing and

having reasonable cause to believe that the person known to the grand jury had been convicted of

a crime punishable by imprisonment for a term exceeding one year, in violation of Title 18,

United States Code, Sections 922(d) and 924(a)(2).
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                                         COuNT TWO

                  (Malcing False Entry in Records by Federal Firearms Dealer)

       On or about October 18, 2017 in Berkeley County, within the Northern District of West

Virginia, defendant WILLIAM LOREN HOFFMAN, ffi, a licensed dealer of firearms, within

the meaning of Chapter 44, Title 18, United States Code, knowingly failed to make an

appropriate entry in, made a false entry in, and failed to maintain a record the defendant was

required to keep pursuant to Section 923 of Title 18, United States Code; in violation of Title 18,

United States Code, Sections 922(m) and 924(a)(3)(B).
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                                       COUNT THREE

                                  (Sale to a Prohibited Person)

       On or about October 24, 2017 in Berkeley County, within the Northern District of West

Virginia, defendant WILLIAM LOREN HOFFMAN, III, knowingly sold a firearm, that is a

Springfield pistol Model XD-9, 9mm caliber, to a person known to the grand jury, knowing and

having reasonable cause to believe that the person known to the grand jury had been convicted of

a crime punishable by imprisonment for a term exceeding one year, in violation of Title 18,

United States Code, Sections 922(d) and 924(a)(2).
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                                         COUNT FOUR

                  (Making False Entry in Records by Federal Firearms Dealer)

       On or about October 24, 2017 in Berkeley County, within the Northern District of West

Virginia, defendant WILLIAM LOREN HOFFMAN, III, a licensed dealer of firearms, within

the meaning of Chapter 44, Title 18, United States Code, knowingly failed to make an

appropriate entry in, made a false entry in, and failed to maintain a record the defendant was

required to keep pursuant to Section 923 of Title 18, United States Code; in violation of Title 18,

United States Code, Sections 922(m) and 924(a)(3)(B).


                                                     A True Bill,


                                                     /5/
                                                     Grand Jury Foreperson



/s/
WILLIAM J. POWELL
UNITED STATES ATTORNEY

Lara K. Omps-Botteicher
Assistant United States Attorney
